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 6 Attorneys for Plaintiff
   United States of America
 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. S 12-255 GEB
11
                                 Plaintiff,              STIPULATION AND ORDER CONTINUING
12                                                       HEARING ON DEFENDANT DUNCAN’S
                           v.                            MOTION TO REDUCE SENTENCE PURSUANT
13                                                       TO 18 U.S.C. § 3582(c)(2)
     ROBERT DUNCAN,
14
                                 Defendant.
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16          It is requested that the hearing on defendant Robert Duncan’s motion to reduce sentence pursuant
17 to 18U.S.C. § 3582(c)(2), be continued from March 20, 2015, to April 10, 2015 at 9:00 a.m. Counsel

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     for defendant Duncan is now unavailable for personal reasons. The government has no objection to the
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     continuance.
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22
     Dated: March 19, 2015                                   BENJAMIN B. WAGNER
23                                                           United States Attorney
24
                                                      By: /s/ RICHARD J. BENDER
25                                                        RICHARD J. BENDER
                                                          Assistant United States Attorney
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      STIPULATION AND ORDER CONTINUING RESENTENCING      1
      HEARING
              Case 2:12-cr-00255-TLN Document 118 Filed 03/20/15 Page 2 of 2

 1
     [Stipulation/Order continuing resentencing hearing to April 10th, page two]
 2

 3
     IT IS SO ORDERED,
 4
     Dated: March 19, 2015
                                                            X
 5                                                          GARLAND E. BURRELL, Jr.
                                                            U.S. District Judge
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      STIPULATION AND ORDER CONTINUING RESENTENCING     2
      HEARING
